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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    STATE OF GEORGIA                       Case Number:

    v.

    DAVID J. SHAFER

         Defendant.

             NOTICE OF REMOVAL OF STATE COURT ACTION TO
                    FEDERAL COURT AND REQUST FOR
                     HABEAS OR EQUITABLE RELIEF

         David J. Shafer removes this proceeding from the Fulton County Superior Court

(Case No. 23SC188947, filed August 14, 2023) to the United States District Court for the

Northern District of Georgia under 28 U.S.C. §§ 1442 & 1455.1 Mr. Shafer is entitled

to remove the state criminal case as a matter of right. The State Indictment (the

“Indictment”), attached as Exhibit A, charges Mr. Shafer with conduct that stems

directly from his service as a Presidential Elector nominee acting under the authority of



1
  Pursuant to 28 U.S.C. § 1455, Mr. Shafer has filed his Notice, signed pursuant to
Federal Rule of Civil Procedure 11, in this Court, the geographical jurisdiction that
embraces the jurisdiction in which the Fulton County prosecution is pending, within 30
days of his arraignment in the Fulton County prosecution. See 28 U.S.C. §§ 1455(a),
(b). Mr. Shafer has furthermore attached the Indictment from the Fulton County
prosecution, which is the sole process, pleading or order served upon him. See 28 U.S.C.
§ 1455(a).
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the Constitution and the Electoral Count Act (“ECA”),2 3 U.S.C. § 1 et seq., and at the

direction of the President and other federal officers. Mr. Shafer has numerous federal

defenses, including official immunity, federal preemption, supremacy clause immunity,

defenses under the Due Process Clause, and First Amendment defenses. In short, Mr.

Shafer satisfies each of the three criteria for removal under Sections 1442 and 1445.

      In addition or alternatively, this Court should assert its habeas or equitable

jurisdiction to bar the State’s prosecution, which seeks to criminalize a political dispute

that only Congress possesses the authority to resolve. The Supremacy Clause plainly

bars the State’s attempt here to criminalize the actions of persons acting pursuant to

federal authority to achieve the purposes of the national government. Neither the State

of Georgia nor any of its localities has the authority to prosecute Mr. Shafer for these

actions, and this Court should exercise its clear authority to correct this injustice and

halt this unlawful and unconstitutional attempted prosecution now.




2
  The ECA was amended by Congress in 2022. References to the ECA herein are to the
previous version of the ECA in place in 2020 at the time the events in the Indictment at
issue took place. A copy of the 2020 version of the ECA is attached hereto for the
Court’s reference as Exhibit F.
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                   I. FACTUAL AND LEGAL BACKGROUND

A. Factual Background

      1. The 2020 Presidential Election in Georgia

      On March 4, 2020, the State Executive Committee of Georgia Republican Party

nominated David Shafer and fifteen other Georgians as presidential electors

(“Presidential Electors”) pursuant to the Constitution of the United States; the Electoral

Count Act of 1887 (ECA), 3 U.S.C. §§ 1 et seq.; and the laws of the State of Georgia

for the November 3, 2020, general election. The next day, March 5, 2020, the Georgia

Republican Party certified to the Secretary of State that David Shafer and fifteen other

Georgians were the Republican nominees for Presidential Elector.

      The general election was held on November 3, 2020. On November 20, 2020,

Georgia Secretary of State Brad Raffensperger certified the election results, which

showed that Joe Biden won the Georgia presidential election by 12,670 votes out of

4,998,482 votes cast (a margin of 0.26%). On the same day, President Donald J. Trump,

pursuant to O.C.G.A. § 21-2-495, demanded a recount of the vote for president.

      On December 4, 2020, President Trump and Mr. Shafer, in his capacity as a

Presidential Elector nominee and voter, filed a “Verified Petition to Contest Georgia’s

Presidential Election Results for Violations of the Constitution and Laws of the State of

Georgia, and Request for Emergency Declaratory and Injunctive Relief” in the Superior
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Court of Fulton County pursuant to O.C.G.A. § 21-2-521, initiating Trump et al. v.

Raffensperger et al., Case No. 2020CV343255 (the “Georgia election challenge”). On

December 7, 2020, Secretary Raffensperger issued a statement that he had re-certified

the election for Joe Biden following the recount. The second certification showed that

Biden had won the Georgia presidential election by 11,779 votes out of 4,977,617 votes

cast (a margin of 0.24%).3 On the same date, Georgia Governor Brian Kemp and

Lieutenant Governor Geoff Duncan issued a statement that “[t]he judicial system

remains the only viable—and quickest—option in disputing the results of the November

3rd election in Georgia.” Id.

      On December 9, 2020, the Superior Court of Fulton County issued an order

stating that the Superior Court would consider the election contest “in the normal

course.” The following day, December 10, 2020, legal counsel sent an electronic mail

(e-mail) to Mr. Shafer, reconfirming counsels’ previous oral legal advice:

      [T]hat our slate of delegates meet on December 14th (per the Federal
      Deadline) and cast their ballots in favor of President Trump and
      specifically per the Georgia Election Code. It is essential that our delegates
      act and vote in the exact manner as if Governor Kemp has certified the
      Presidential Contest in favor of President Trump. I believe that this is still
      the most conservative course of action to preserve the best chance for
      Georgia to ultimately support the President’s re-election. As we discussed

3
  See Max Greenwood, “Georgia secretary of state recertifies election results after
recount”        The      Hill       (December 7,      2020),      available      at
https://thehill.com/homenews/campaign/529028-georgia-secretary-of-state-says-he-
will-recertify-election-results-after/.
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      in the 1960 Hawaii case, the convening of our electors and their casting of
      ballots in favor of President Trump in the specifically required form and
      manner is necessary in order to preserve our state and party’s say in the
      presidential contest.

Exhibit B (emphasis added).

      On December 11, 2020, President Trump and Mr. Shafer filed an emergency

petition for writ of certiorari with the Georgia Supreme Court, Trump et al. v.

Raffensperger et al., Case No. S21M0561, contending that the Superior Court’s

consideration of the Georgia election challenge action “in the normal course” would not

provide timely relief before date required under federal law for Presidential Electors to

cast their ballots (December 14, 2020). As of the filing of the emergency petition, the

Superior Court had set no hearing in that action.

      On December 12, 2020, the Georgia Supreme Court denied the emergency

petition. Id. On the same date, legal counsel advised Mr. Shafer that the Supreme Court

order did not end the Georgia election challenge action, which remained pending in the

Fulton Superior Court. Counsel advised Mr. Shafer that he and the other Republican

Presidential Electors remained contingent Electors and reiterated that Mr. Shafer and

the other contingent Electors should meet on December 14, 2020 to cast their votes to

preserve remedies in the pending election contest.

      On December 14, 2020, Mr. Shafer and the other contingent Republican

Presidential Electors met at the State Capitol. Contrary to the allegations in the
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Indictment, this meeting was not held secretly nor for any nefarious purpose. By law,

the meeting was to commence at noon, and around this time, Mr. Shafer invited

members of the news media into the meeting room and allowed them to set up their

cameras before calling the meeting to order, which they did. As Mr. Shafer is now

aware, a court reporter was present to transcribe the proceedings.4

      In the meeting, Mr. Shafer stated that President Trump had filed a challenge to

the certified election results, that the election contest had not yet been heard or decided

by any judge with the authority to hear it. Mr. Shafer emphasized that, “in order to

preserve President Trump’s rights in the pending contest, it was important that the

contingent Presidential Electors meet that day and cast their votes.” See Exhibit C, p. 3.

During the meeting, an attorney for the President stated: “We are conducting this…

because the contest of the election in Georgia is ongoing. And so we continue to contest

the election of the electors in Georgia. And so we are going to conduct this in

accordance with the Constitution of the United States, and we are going to conduct the

electorate today similar to what happened in 1960 in Hawaii.” Id. at 7. Mr. Shafer then

informed those in attendance that: “And if we did not hold this meeting, then our

election contest would effectively be abandoned; …” Id. at 8. The attorney confirmed



4
  See Transcript of December 14, 2020 Contingent Presidential Elector Meeting
(attached hereto as Exhibit C).
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Mr. Shafer’s statement was correct. Id. Mr. Shafer then further explained: “And so the

only way for us to have any judge consider the merits of our complaint, the thousands

of people who we allege voted unlawfully, is for us to have this meeting and permit the

contest to continue; is that not correct?” Id. The attorney again confirmed that Mr.

Shafer’s statement was correct. Id.

      On the same date, Mr. Shafer posted the following on Twitter (now X):
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      2. The Precedent of the 1960 Presidential Election in Hawaii Relating to
         Contingent Electors

      In the presidential election of 1960, the judicial challenge to the election was not

finally adjudicated prior to the date on which the ECA required Presidential Electors to

cast their votes. See Expert Declaration of Professor Todd Zywicki, attached as Exhibit

D, ¶ 10. In that election, Richard Nixon, the Republican candidate, was initially certified

by the State of Hawaii as the winner of the vote. Id. at ¶ 11. Supporters of John F.

Kennedy, the Democrat candidate, filed a legal action contesting the election, alleging

various voting irregularities. Id. The action was still pending on the date Hawaii’s

Presidential Electors were to meet. Id. As a result of the pending election contest, the

certified electors for Nixon and uncertified elector nominees for Kennedy met

separately at the Hawaii State capitol building on December 19, 1960, cast their votes

for their respective candidates, and submitted those contingent ballots to Congress as

the ECA required. Id.

      Ultimately, Kennedy prevailed in the judicial election contest, and the election

was re-certified in his favor. See Exhibit D, ¶ 12. The Governor of Hawaii sent a second

Certificate of Ascertainment to Congress, reporting that as a result of the lawsuit, the

electoral votes of Hawaii were to be recorded for Kennedy rather than Nixon. Id.

Congress then counted these votes of the Kennedy electors. Id.
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      The response of the political parties to the judicial contest of the 1960 Hawaii

election was cited as precedent by advocates for Democratic presidential candidate Al

Gore during the contested 2000 presidential election, see Exhibit D, ¶¶ 13, 14 and touted

by many constitutional scholars as the ideal way to preserve election challenges in a

close, contested presidential election. Id. at ¶¶ 13-19.

    3. The Fulton County District Attorney’s Investigation and Prosecution of Mr.
       Shafer

       On January 20, 2022, the District Attorney for Fulton County/the Atlanta Judicial

Circuit sent a letter to the Chief Judge of the Superior Court of Fulton County,

requesting that a special purpose grand jury (“SPGJ”) under Georgia law be impaneled

for the purpose of investigating possible attempts to disrupt the administration of the

2020 elections in the State of Georgia.5 The Superior Court issued an order impaneling

a SPGJ to investigate potential disruptions to the administration of the 2020 elections.

      The SPGJ was impaneled on May 2, 2022. The District Attorney and her office

caused the SPGJ to investigate for nearly eight months, issuing subpoenas compelling



5
 In that letter, DA Willis claimed that her office was the “sole agency with jurisdiction
that is not a potential witness to conduct related to [criminal interference in the 2020
Georgia election].” See Jan. 20, 2021 Letter from DA Willis to Judge Brasher
(attached hereto as Exhibit G). Given the three federal investigations and two
federal criminal indictments that have stemmed from the 2020 election, this
representation was plainly inaccurate, and yet the investigation of the national
election continued.
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the appearance of approximately 75 alleged witnesses, including a United States

Senator, and compelling the production of other alleged evidence. The SPGJ was

dissolved on January 9, 2023, although its full report has not yet been released.

      On August 14, 2023, the District Attorney and her office filed an Indictment

against former President Trump, former Chief of Staff Meadows, the Presidential

Elector defendants, and others. The Indictment opens with a reference to the November

3, 2020, United States presidential election. See Exhibit A, p. 14. The prosecution

charges the Presidential Elector defendants in relation to the meeting of the contingent

Presidential Electors, the casting of their ballots and the certification of their votes. Id.

at 40-42. It alleges as criminal in violation of State law alleged solicitation of the Vice

President of the United States and officials of the United States Department of Justice,

id. at 18, 45, 46, 50, 62, 63; and alleged strategies to disrupt and delay the joint session

of the Congress of the United States on January 6, 2021, in Washington, D.C., id. at 17,

24, 38, 48, 49, 57, 58, 62, 63.

B. Legal Background: The Constitution and the Electoral Count Act

      The Constitution vests Congress alone with the authority to receive, adjudicate,

and count presidential electoral ballots or returns. See U.S. Const. Amend. XII. To

address the chaos that had ensued in previous presidential elections, in 1887, Congress
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passed the ECA to govern how it would receive, adjudicate, and count the presidential

elector ballots.6

       Under the ECA, Congress delegated to the States limited authority to determine,

in the first instance, who were the valid presidential electors for their State. Specifically,

the ECA provides that if a State’s adjudicative body (in Georgia, a court in a judicial

contest) issues a final decision in disputes regarding Presidential Electors at least six

days in advance of the date that Presidential Electors have to meet and cast their

presidential ballots (the “safe harbor” date), the state’s final judicial decision will be

given conclusive effect by Congress on January 6. See 3 U.S.C §§ 5, 15. But, when

States fail to issue a final adjudication of such disputes on or before the ECA’s safe

harbor deadline, their authority to determine who their valid presidential electors are is

extinguished, and all authority returns to Congress to resolve any remaining disputes.

See 3 U.S.C. §§ 5, 6, and 15.7


6
  See Siegel, at 556-60 (providing a detailed history of the ECA and the application of
its provisions).
7
  The legislative history of the ECA clarifies its intent to give Congress alone the power
to resolve such disputes:
       The two Houses are, by the Constitution, authorized to make the count of
       electoral votes. They can only count legal votes, and in doing so must
       determine, from the best evidence to be had, what are legal votes....
       *****
       The power to determine rests with the two houses, and there is no other
       constitutional tribunal.
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      Importantly, the ECA makes explicit that Congress is to receive both Presidential

Elector ballots and contingent Presidential Elector ballots. See 3 U.S.C. § 15.8 The



Bush v. Gore, 531 U.S. 98, 154 (2000) (Souter, J., dissenting) (quoting H.R. Rep. No.
1638, 49th Cong., 1st Sess., 2 (1886) (report submitted by Rep. Caldwell, Select
Committee on the Election of President and Vice–President)).
8
  The pertinent part of Section 15 of the ECA provides as follows:

      If more than one return or paper purporting to be a return from a State
      shall have been received by the President of the Senate, those votes, and
      those only, shall be counted which shall have been regularly given by
      the electors who are shown by the determination mentioned in section
      5 of this title to have been appointed, if the determination in said section
      provided for shall have been made, or by such successors or substitutes,
      in case of a vacancy in the board of electors so ascertained, as have been
      appointed to fill such vacancy in the mode provided by the laws of the
      State; but in case there shall arise the question which of two or more of
      such State authorities determining what electors have been appointed,
      as mentioned in section 5 of this title, is the lawful tribunal of such
      State, the votes regularly given of those electors, and those only, of such
      State shall be counted whose title as electors the two Houses, acting
      separately, shall concurrently decide is supported by the decision of such
      State so authorized by its law; and in such case of more than one return
      or paper purporting to be a return from a State, if there shall have been
      no such determination of the question in the State aforesaid, then those
      votes, and those only, shall be counted which the two Houses shall
      concurrently decide were cast by lawful electors appointed in
      accordance with the laws of the State, unless the two Houses, acting
      separately, shall concurrently decide such votes not to be the lawful
      votes of the legally appointed electors of such State. But if the two
      Houses shall disagree in respect of the counting of such votes, then,
      and in that case, the votes of the electors whose appointment shall have
      been certified by the executive of the State, under the seal thereof, shall
      be counted.

3 U.S.C. § 15 (emphasis added).
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ECA states that “when” it received presidential elector ballots and “paper[s]

purporting to be a [presidential elector ballot] from a State,” id., it must open them and

adjudicate them as follows:

      1.     If any of the Presidential Elector ballots or papers purporting to be a

      presidential electoral ballot submitted to Congress can legitimately claim that

      they were declared the valid Presidential Electors by the State’s adjudicative

      process outlined in 3 U.S.C. § 5 by the safe harbor deadline (discussed above),

      then those votes are presumptively the “true” returns from that State;

      2.     If none of the competing Presidential Elector slates or purported

      presidential slates presented to Congress could properly claim that they were the

      product of the State’s final adjudication of the dispute by the safe harbor deadline

      (which was the case with Georgia in 2020), then the House and Senate together

      have to agree on which of the competing Presidential Elector ballots and

      purported ballots were the true returns from the State;

      3.     If the House and Senate cannot agree on which of the multiple presidential

      elector ballots is the true Presidential Elector ballot from a State, then the ECA

      requires Congress to count the electoral ballots that the Governor has certified.
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See 3 U.S.C. § 15. In this way, the ECA’s plain text recognizes the legitimate role of

contingent electors in disputed presidential elections. It also dispels any notion that the

Presidential Electors who are ascertained or certified by a State’s governor before or on

the ECA’s “safe harbor” date are the presumptively valid Presidential Electors. The only

way under the ECA for a state to decide for Congress who the State’s true Presidential

Electors are is by exercising its delegated judicial authority by or before the safe harbor

date to reach a final adjudication of the Presidential Elector dispute. Absent the State

achieving this safe harbor status (which Georgia did not do in 2020), neither slate of

Presidential Electors is presumptively or conclusively valid, both can be sent to

Congress under the plain language of the ECA, and Congress is free to disregard the

Governor’s certificate of ascertainment and adjudicate for itself who the State’s true or

valid electors are. See 3 U.S.C. §15.9 Only if Congress cannot agree on the valid ballot

does the Governor’s certificate of ascertainment even become relevant. See 3 U.S.C. §

15.




9
  Because of these provisions of the ECA and Georgia law, both sets of presidential
electors in a state become contingent presidential electors by operation of law when a
judicial challenge to the presidential electors is filed in that state. See Exhibit D, ¶¶ 8-
9. Mr. Shafer is referred to throughout alternatively as a presidential elector, a
contingent presidential elector, or a presidential elector nominee, depending upon the
context, but his status in the 2020 presidential election was the same as all of the other
Georgia presidential electors, including those for Joe Biden.
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                            II. GROUNDS FOR REMOVAL

      The federal officer removal statute permits the removal of a state criminal

prosecution against any federal officer or person acting under that officer who is acting

“under color of” that federal office. See 28 U.S.C. § 1442. The purpose of the statute is

“to provide a federal forum for cases where federal officials must raise defenses arising

from their official duties ... [and] to protect federal officers from interference by hostile

state courts.” Mesa v. California, 489 U.S. 121, 137 (1989) (quotations omitted). “The

act of removal permits a trial upon the merits of the state-law question free from local

interests or prejudice.” Arizona v. Manypenny, 451 U.S. 232, 241-242 (1981) (internal

citations omitted).

      Section 1442 must be liberally construed. See Watson v. Philip Morris

Companies, Inc., 551 U.S. 142, 147 (2007) (internal citations and quotations omitted).

A party seeking removal under Section 1442(a)(1) must satisfy a three-pronged test: (1)

that they are a federal officer or acted under a federal officer; (2) that the actions for

which they are being charged were performed under the color of that federal office or

authority; and (3) that they have a colorable federal defense. See Caver v. Cent.

Alabama Elec. Coop., 845 F.3d 1135, 1142 (11th Cir. 2017) (internal citations omitted).

Mr. Shafer satisfies all three of these criteria.
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A. Mr. Shafer Was, or Was Acting Under, an Officer of the United States at
   the Time of the Conduct Charged in the Fulton County Prosecution

      The phrase “officer of the United States” in Section 1442 “‘appl[ies] to all

officers and employees of the United States or any agency thereof.’” Int’l Primate Prot.

League v. Administrators of Tulane Educ. Fund, 500 U.S. 72, 84 (1991) (quoting H.R.

Rep. No. 308, 80th Cong., 1st Sess., A134 (1947)). As a contingent Presidential Elector,

Mr. Shafer was an officer of the United States for the purposes of Section 1442 at the

time of the conduct charged in the Fulton County prosecution.10


10
  In other contexts, the Supreme Court has mentioned in dicta that presidential electors
are not federal officers. See, e.g., Ray v. Blair, 343 U.S. 154, 225 (1952); Burroughs v.
United States, 290 U.S. 534, 545 (1934) (citing In re Green, at 379). In the context of
the broad application of Section 1442 and removal, however, an individual can be a
federal officer with a right to removal even where they are not employees or agents of
the federal government. See Georgia v. Heinze, No. 1:21-CV-04457-VMC, 2022 WL
15265493, at *1, *6 (N.D. Ga. Oct. 25, 2022); Robinson v. Sauls, No. 1:18-CV-131-
TCB, 2019 WL 12338303, at *3 (N.D. Ga. Sept. 16, 2019). Indeed, federal statutes in
the specific elections’ context treat Presidential Electors as federal officers. See Voting
Rights, 52 U.S.C.A. § 10101 (“No person, whether acting under color of law or
otherwise, shall intimidate, threaten, coerce, or attempt to intimidate, threaten, or coerce
any other person for the purpose of interfering with the right of such other person to
vote or to vote as he may choose, or of causing such other person to vote for, or not to
vote for, any candidate for the office of President, Vice President, presidential elector,
Member of the Senate, or Member of the House of Representatives, Delegates or
Commissioners from the Territories or possessions, at any general, special, or primary
election held solely or in part for the purpose of selecting or electing any such
candidate.”) (emphasis added); Voting Rights Enforcement, 52 U.S.C. § 10307 (same);
Intimidation of Votes, 18 U.S.C. 594 (same). As such, the fact that Presidential Electors
are not federal officers in the narrow sense considered in Ray and Burroughs does not
foreclose them from being federal officers under the broad interpretation to be given
that term under Section 1442. In any event, however, as discussed herein, they exercise
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      A Presidential Elector’s role and duties are set forth in Art. II, § 1, cl. 3 and the

Twelfth Amendment. The Constitution directs Presidential Electors to meet in their

respective States, to vote by ballot, to make a list of all the persons voted for, to sign

and certify the list, and to transmit the list sealed to Congress, directed to the President

of the United States Senate. See U.S. Const. Art. II, § 1, cl. 3. Congress, through the

ECA, specifies when and where Presidential Electors (and contingent Presidential

Electors) must meet and give their votes, and sets forth requirements for the making,

signing, and certifying of the Electors’ votes and sending the same to Congress. See 3

U.S.C. §§ 7, 9, 10. In short, Mr. Shafer’s duties as a contingent Presidential Elector are

created by the U.S. Constitution and governed by federal law.

      The Supreme Court’s reasoning in U.S. Term Limits, Inc. v. Thornton, 514 U.S.

770, 805 (1995), is instructive. There, the Court analogized the constitutional authority

creating presidential electors to that creating Members of Congress. Id. Like Members

of Congress, presidential electors are created by the Constitution, elected by the States,

but serve a federal role under federal authority. See Section III.C.1 (discussing the case

and its analogy to Presidential Electors). Just as Members of Congress are federal




exclusive federal authority when they meet and cast their ballots, and they at least act
at the direction of federal officers.
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officers for purposes of Section 1442,11 so too then, by the same analogy, are

presidential electors. Mr. Shafer was an officer of the United States for the broad

purposes of removal under Section 1442.12

      At a minimum, Mr. Shafer was acting under officers of the United States for the

purposes of Section 1442. The words “acting under” in Section 1442(a)(1) are also

broadly construed. See Watson, 551 U.S. at 147 (internal citations omitted); accord

Caver, 845 F.3d at 1142 (citing Watson, 551 U.S. at 147). The words can mean “an

effort to assist, or to help carry out, the duties or tasks of the federal superior.” Watson,

551 U.S. at 151-152; Caver, 845 F.3d at 1142 (citing Watson, 551 U.S. at 52). The

Supreme Court has approved removal for defendants who were “working hand-in-hand



11
   See, e.g., Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408 (D.C. Cir.
1995) (accepting removal under § 1442 and affirming quashal of state subpoenas issued
to a member of Congress); Williams v. Brooks, 945 F.2d 1322, 1324 n.2 (5th Cir. 1991)
(explaining that the district court had removal jurisdiction over a state matter against a
member of Congress as an officer of the United States for purposes of § 1442(a)(1));
Richards v. Harper, 864 F.2d 85, 86 (9th Cir. 1988) (same); Hill Parents Ass’n v.
Giaimo, 287 F. Supp. 98, 99 (D. Conn. 1968) (“A member of Congress is
unquestionably an officer of the United States as this term is commonly used and must
be considered as such pursuant to Section 1442(a)(1).”)
12
   Additionally, Mr. Shafer is charged in a RICO conspiracy with other federal officers,
including Jeffrey Clark, who is charged in his capacity as an officer at the Department
of Justice. A conspiracy, “if proved, makes actionable any deed by one of the
conspirators chargeable to all” and “the act of one is the act of all.” See, e.g., Fed.
Deposit Ins. Corp. v. Loudermilk, 305 Ga. 558, 573–74 (2019) (citations omitted).
Because Mr. Shafer is, therefore, directly charged with the conduct of other federal
officers acting in their official capacities, removal as to Mr. Shafer is also appropriate.
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with the federal government to achieve a task that furthers an end of the federal

government.” Ruppel v. CBS Corp., 701 F.3d 1176, 1181 (7th Cir.2012) (emphasis

added). Section 1442 “contemplated that literally thousands of persons would be drawn

into its enforcement and that some of them otherwise would have little or no appearance

of official authority.” City of Greenwood, Miss. v. Peacock, 384 U.S. 808, 820 (1966)

(internal citations and quotations omitted).

      Mr. Shafer and the other Republican Electors in the 2020 election acted at the

direction of the incumbent President and other federal officials. Attorneys for the

President and Mr. Shafer specifically instructed Mr. Shafer, verbally and in writing, that

the Republican electors’ meeting and casting their ballots on December 14, 2020 was

consistent with counsels’ advice and was necessary to preserve the presidential election

contest. See Exhibit B. Further, an attorney for the President was present at the

December 14, 2020 meeting of the presidential electors itself and advised the

Presidential Electors, including Mr. Shafer, that performance of their duties was

necessary on behalf of the President and the Constitution. See Exhibit C; cf. United

States v. Trump, Case No. 1:23-cr-00257, Doc. No. 1, ¶ 66 (alleging presidential

electors acted at the direction of the President and other federal officials).

      Additionally, in executing his duties as a Presidential Elector, Mr. Shafer assisted

the President of the Senate and the Archivist of the United States in carrying out their
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duties.13 In acting as a contingent Presidential Elector, Mr. Shafer was “working hand-

in-hand with the federal government to achieve a task that furthers an end of the federal

government.” Ruppel, 701 F.3d at 1181. Without Mr. Shafer and other Presidential

Electors, Congress could not perform its duty to receive, adjudicate, and count

presidential elector ballots, nor could the President of the Senate perform his federal

duties.

      The Court of Appeals has upheld removal of State court actions to federal court

for Members of Congress, see supra at FN 11, and where the defendant’s connection to

the federal government is much more attenuated than Mr. Shafer’s direct federal

authority. See, e.g., Magnin, 91 F.3d at 1426, 1427, 1428 (one defendant was employed

by private aircraft engine manufacturer and was also a “designated manufacturing

inspection representative” of the Federal Aviation Administration); Caver, 845 F.3d at

1144, 1145, 1146 (defendant was a State electrical cooperative); Peterson v. Blue

Cross/Blue Shield of Texas, 508 F.2d 55, 56, 58 (5th Cir. 1975) (defendant was


13
  The ECA provides that presidential elector ballots and contingent presidential elector
ballots must be sent to the President of the Senate and the Archivist of the United States.
See 3 U.S.C. § 11. Federal law requires that on the sixth day of January after every
meeting of the Presidential Electors, the President of the Senate shall, in the presence
of Congress, open all the certificates from Presidential Electors (including papers
purporting to be such certificates or ballots). See U.S. Const. Art. II § 1, cl. 3; Amend.
XII; 3 U.S.C. § 15. Disputes between competing presidential ballots are adjudicated by
Congress. See 3 U.S.C. § 15. The votes are then counted, and the President of the Senate
announces the vote and declares the persons elected President and Vice President. Id.
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executive of State health insurer and employee of a State health department); and State

of Tex. ex rel. Falkner v. Nat’l Bank of Com. of San Antonio, Tex., 290 F.2d 229, 231

(5th Cir. 1961) (defendants were State banks). Given the broad construction required to

be given to Section 1442’s removal provisions, Mr. Shafer, as a contingent Presidential

Elector, nominated to perform federal, Constitutional functions, was an officer of the

United States or, at minimum, within the broad category of persons acting under such

officers for the purposes of Section 1442. In sum, Mr. Shafer satisfies this prong of the

removal test.

B. Mr. Shafer Acted Under the Color of Federal Office at the Time of the Conduct
   Charged in the Fulton County Prosecution.

      “[T]he right of removal under s 1442(a)(1) is made absolute whenever a suit in a

state court is for any act ‘under color’ of federal office…” Willingham v. Morgan, 395

U.S. 402, 406 (1969). “‘The phrase “relating to” is broad and requires only “a

‘connection’ or ‘association’ between the act in question and the federal office.’” Caver,

845 F.3d at 1144 (internal quotations omitted). “‘The hurdle erected by this requirement

is quite low...’” Id. (internal quotations omitted).

      Mr. Shafer easily satisfies the second requirement for removal under Section

1442(a), requiring that he show a connection between his federal duties and the acts for

which he is being prosecuted. The Indictment in the Fulton County prosecution charges

Mr. Shafer for actions he took to fulfill his federal obligations as a contingent Elector
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for the 2020 election. See Exhibit A, pp. 13-17, 20, 28, 31-32, 35-42, 76-81. The

Constitutional and federal provisions defining Mr. Shafer’s duties and responsibilities

as a contingent Presidential Elector are set forth above. The connection between the

conduct alleged in the Fulton County Indictment and Mr. Shafer’s actions as a

contingent Presidential Elector is clear. These facts satisfy the low threshold of the

second requirement for removal.

C.    Mr. Shafer Possesses Federal Defenses to the Fulton County Prosecution.14

      A colorable federal defense under Section 1442 “need only be plausible; its

ultimate validity is not to be determined at the time of removal.” Magnin, 91 F.3d at

1427 (internal citations and quotations omitted). “Under the federal officer removal

statute… the federal-question element is met if the defense depends on federal law.”

Acker, 527 U.S. at 431 (emphasis added).

      1. As a Federal Officer, Mr. Shafer Has Official Immunity

      Under the Supremacy Clause, federal officers are immune from state prosecution

if (1) the officer “was authorized to do [what he did] by the law of the United States,”

(2) whether “it was his duty to do [it] as [an officer] of the United States,” and whether



14
   Because Mr. Shafer is charged with all eighteen of his co-defendants in a RICO
conspiracy, he is also charged with their conduct. As such, he is entitled to incorporate
their federal defenses to these actions, and he adopts those defenses as though fully set
forth herein. See Footnote 12, supra.
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(3) “in doing that act he did no more than what was necessary and proper for him to

do.” Denson v. United States, 574 F.3d 1318, 1346–47 (11th Cir. 2009) (quoting In re

Neagle, 135 U.S. 1, 57) (1890)). “Although setting out three distinct questions for

analysis, at bottom, Neagle stands for the proposition that an officer of the United States

cannot be held in violation of state law while simultaneously executing his duties as

prescribed by federal law.” Id. at 1347.

      Importantly, the removal statute “is broad enough to cover all cases where federal

officers can raise a colorable defense arising out of their duty to enforce federal law.”

Mesa, 489 U.S. at 133 (quoting Willingham, 395 U.S. at 409). Federal courts must credit

the removing party's theory of the case for purposes of determining if a federal officer

both acted “under color of office” and raised “a colorable federal defense.” Jefferson

Cnty., Ala. v. Acker, 527 U.S. 423, 432 (1999). “The officer need not win his case

before he can have it removed.” Willingham, 395 U.S. at 407.15

      Here, the Indictment charges Mr. Shafer with conduct relating to the exercise

of his federal duties as a contingent Presidential Elector in the 2020 presidential

election. See Exhibit A, pp. 13-17, 20, 28, 31-32, 35-42, 76-81. As set forth in greater



15
  The Department of Justice has taken the position that an asserted defense of
Supremacy Clause immunity is sufficient to satisfy the third element under Section
1442. See State of Georgia v. Kim, case number Case 1:23-cv-00113-MLB (N.D. Ga.
2023), Supplemental Statement of Interest, ECF No. 28.
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detail in Section III, Mr. Shafer was specifically authorized by federal law to take the

actions that he took, and he did no more than was necessary to fulfill his federal

obligations. See Denson, 574 F.3d at 1346–47. Additionally, Mr. Shafer not only

subjectively believed his actions were justified, but his belief was objectively

reasonable. As set forth in Section III, Mr. Shafer’s actions were specifically

authorized by federal law. And, as set forth in Section I.A.2., Mr. Shafer reasonably

relied on the only existing legal precedent (1960 Hawaii) and on specific legal advice

that his actions were legal and constitutional.

      2. Mr. Shafer’s Preemption Defense

      Preemption is also a recognized federal defense for purposes of Section 1442.

See, e.g., Caver, 845 F.3d at 1145–46. As also set forth in greater detail in Section III,

the State criminal laws in the Indictment are preempted as applied to Mr. Shafer under

structural preemption, see Section III.B.1. (explaining that State laws that attempt to

operate in areas under which they have no authority under the Constitution are

preempted); field preemption, see Section III.B.2. (explaining that laws that interfere

with federal authority in a field that federal law has occupied are preempted); and

conflict preemption, see Section III.B.3. (explaining that state laws that conflict with

federal authority are preempted).
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      3. Mr. Shafer’s Supremacy Clause Immunity Defense

      In this case, as explained in more detail in Section III, the State’s Indictment of

Mr. Shafer attempts to criminalize, under general State criminal laws, actions that were

taken pursuant to exclusive federal authority, which are specifically contemplated by

and permitted by the Constitution and federal law, and that are inseparably connected

to the functioning of the national government. Mr. Shafer is not subject to state authority

or jurisdiction for actions he took as a Presidential Elector, which are wholly within the

authority of the national government. Under the Supremacy Clause, actions taken under

the authority of the United States that are closely connected to the function of the

national government cannot be violations of the criminal laws of the state. Mr. Shafer,

therefore, is immune from prosecution by the State. See, e.g., In Re Loney, 134 U.S. at

376 (defendants who were regular citizens released from state custody by federal habeas

when state attempted to charge them under state perjury law for their testimony in a

contested congressional election because the state court had no authority or jurisdiction

to prosecute conduct so inseparably connected with the functioning of the National

Government).
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      4. Mr. Shafer’s Due Process Defenses

      The Due Process Clause of the Constitution16 requires that a criminal statute give

“‘fair warning ... in language that the common world will understand, of what the law

intends to do if a certain line is passed. To make the warning fair, so far as possible the

line should be clear.’” United States v. Lanier, 520 U.S. 259, 265 (1997) (quoting

McBoyle v. United States, 283 U.S. 25, 27 (1931)). The rule is based upon the principle

that “‘no man shall be held criminally responsible for conduct which he could not

reasonably understand to be proscribed.’” Id. (quoting Bouie v. City of Columbia, 378

U.S. 347, 351 (1964)); quoting United States v. Harriss, 347 U.S. 612, 617 (1954)).

“‘All are entitled to be informed as to what the State commands or forbids.’” Bouie, 378

U.S. at 351 (quoting Lanzetta v. New Jersey, 306 U.S. 451, 453 (1939).

      The rule of lenity, also grounded in due process, requires that criminal statutes

be narrowly construed in favor of the accused. See United States v. Wright, 607 F.3d

708, 716 (11th Cir. 2010) (Pryor, J., concurring) (citing United States v. Wiltberger, 18

U.S. (5 Wheat.) 76, 95 (1820)). “When a criminal statute is ambiguous in its application




16
  The Fifth Amendment to the U.S. Constitution states, in pertinent part, that “No
person shall… be deprived of life, liberty, or property, without due process of law…”
U.S. Const. Amend. V. The Fourteenth Amendment similarly provides that no State
shall “deprive any person of life, liberty, or property, without due process of law.” U.S.
Const. Amend. XIV § 1.
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to certain conduct, the rule of lenity requires it to be construed narrowly.” United States

v. McLemore, 28 F.3d 1160, 1165 (11th Cir. 1994).

      Accordingly, “due process bars courts from applying a novel construction of a

criminal statute to conduct that neither the statute nor any prior judicial decision has

fairly disclosed to be within its scope…” Lanier, 520 U.S. at 266 (internal citations

omitted) (emphasis added). “[A] statute or a rule may be held constitutionally invalid

as applied when it operates to deprive an individual of a protected right although its

general validity as a measure enacted in the legitimate exercise of state power is beyond

question.” Boddie v. Connecticut, 401 U.S. 371, 379 (1971). In other words, “a ‘statute

may be invalid as applied to one state of facts and yet valid as applied to another.’”

Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320, 329 (2006) (quoting

Dahnke–Walker Milling Co. v. Bondurant, 257 U.S. 282, 289 (1921)).

      In this case, Mr. Shafer had no notice or fair warning that either his conduct in

serving as a contingent Presidential Elector during the 2020 general election or his being

a party to a complaint filed in a legal proceeding could possibly violate the statutes

which the Fulton County prosecutors have charged.17 The State criminal statutes



17
   Indeed, quite the opposite. Mr. Shafer was specifically advised by skilled legal
counsel that his actions were legal. The only legal precedent, the 1960 Hawaii election,
was conducted in exactly the same manner as the Georgia contingent electors conducted
themselves, and the ballots of the contingent electors in that case were counted by
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charged in the Indictment are constitutionally barred under the Due Process Clause as

applied to Mr. Shafer’s conduct.

      5. Mr. Shafer’s First Amendment Defenses

      The First Amendment generally prevents the government from criminalizing

speech or expressive conduct because of disapproval of the ideas expressed. R.A.V. v.

City of St. Paul, 505 U.S. 377, 382 (1992). Mr. Shafer’s conduct for which he is charged

in the Indictment -- serving as a contingent Presidential Elector and joining as a party

in the Georgia election contest -- is protected activity at the core of the First

Amendment. Smith v. Arkansas State Highway Emp., Loc. 1315, 441 U.S. 463, 464

(1979) (“The First Amendment “protects the right of an individual to speak freely, to

advocate ideas, to associate with others, and to petition his government for redress of

grievances.”) Freedom of speech “‘has its fullest and most urgent application precisely

to the conduct of campaigns for political office.’” Fed. Election Comm’n v. Cruz, 142

S. Ct. 1638, 1650 (2022) (quoting Monitor Patriot Co., at 272).

      The right of association “protects the right of citizens ‘to band together in

promoting among the electorate candidates who espouse their political views.’”

Clingman v. Beaver, 544 U.S. 581, 586 (2005) (quoting California Democratic Party




Congress. See Exhibit D. Far from having notice that his actions could be considered
criminal, Mr. Shafer had every reason to know that they were not.
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v. Jones, 530 U.S. 567, 574 (2000)). It “encompasses a political ‘party’s decisions about

the identity of, and the process for electing, its leaders.” Eu v. San Francisco Cnty.

Democratic Cent. Comm., 489 U.S. 214, 229 (1989) (internal citations omitted). “An

association must merely engage in expressive activity that could be impaired in order

to be entitled to protection.” Boy Scouts of Am. v. Dale, 530 U.S. 640, 655 (2000).

      The First Amendment’s Petition Clause “protects the right of individuals to

appeal to courts and other forums established by the government for resolution of legal

disputes.” Borough of Duryea, Pa. v. Guarnieri, 564 U.S. 379, 387 (2011). The right to

petition the courts constitute “an assurance of a particular freedom of expression.”

McDonald v. Smith, 472 U.S. 479, 482 (1985).

      The actions for which Mr. Shafer is being prosecuted are protected by the First

Amendment. Mr. Shafer’s nomination as a Presidential Elector during the 2020

election, his meeting with other contingent Presidential Electors, his petitioning of the

courts in that capacity, his casting a ballot and signing and certification of a list to send

to Congress clearly constituted protected political expression, protected political

association, and the protected right to petition. The State cannot criminalize Mr.

Shafer’s constitutionally protected (and legal) conduct. See, e.g., Thomas v. Collins, 323

U.S. 516, 539–540 (1945) (“[A]ny attempt to restrict [First Amendment] liberties must

be justified by clear public interest, threatened not doubtfully or remotely, but by clear
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and present danger. . . . Only the gravest abuses, endangering paramount interests, give

occasion for permissible limitation. It is therefore in our tradition to allow the widest

room for discussion, the narrowest range for its restriction, particularly when this right

is exercised in conjunction with peaceable assembly.”)

D. Mr. Shafer Satisfies the Requirements for Removal Pursuant to 28 U.S.C. §
   1442.

       As set forth above, the evidence shows that Mr. Shafer was a federal officer and

acted under federal officers as a contingent Presidential Elector, that the Fulton County

prosecution is connected to Mr. Shafer’s conduct as a contingent Elector, and that Mr.

Shafer has colorable federal defenses to the Fulton County charges. Mr. Shafer is

entitled to removal of the action to this Court.

III.   THE SUPREMACY CLAUSE BARS THE STATE’S INDICTMENT AND
             PROSECUTION, AND THIS COURT SHOULD ASSERT
           JURISDICTION TO PREVENT THIS UNCONSITUTIONAL
          ENCROACHMENT ON EXCLUSIVE FEDERAL AUTHORITY

A. This Court Has Jurisdiction to Issue Pretrial Federal Relief

       The Supremacy Clause ousts States from asserting their authority or jurisdiction

to interfere with exclusively federal functions, including through indictment under State

criminal statutes. When State authorities nonetheless pursue criminal indictments that

interfere with or obstruct areas of exclusive federal authority, federal courts are
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empowered18, to protect federal sovereignty from such improper State criminal

indictments through the Writ of Habeas Corpus, 28 U.S.C. § 2241 (the “Habeas

Statute”) or by exercise of its equitable authority through injunction or declaratory

relief.19




18
   See, e.g., Braden v. 30th Jud. Cir. Ct. of Kentucky, 410 U.S. 484, 508 (1973)
(Rehnquist, J., dissenting) (citing Wildenhus’s Case, 120 U.S. 1 (1887); In re Loney,
134 U.S. 372 (1890); In re Neagle, 135 U.S. 1). Such pre-trial federal relief is also
available when the State attempts to criminalize actions that interfere with the authority
and operations of the federal government. See U.S. ex rel. Noia v. Fay, 300 F.2d 345,
354-55 (2d Cir. 1962), aff’d sub nom. Fay v. Noia, 83 S. Ct. 822 (1963) (noting Supreme
Court has upheld issuance of pre-trial federal writ in State prosecutions where the State
court had “no jurisdiction to entertain an action so inseparably connected with the
functioning of the National Government”); cf. People of State of New York v. Eno, 155
U.S. 89, 94 (1894) (“When the petitioner is in custody by State authority for an act done
or omitted to be done in pursuance of a law of the United States… the courts of the
United States have frequently interposed by writs of habeas corpus and discharged
prisoners who were held in custody under state authority”) (quoting Ex parte Royall,
117 U.S. 241, 252 (1886) (emphasis added)).
19
   “Federal courts have a virtually unflagging obligation ... to exercise the jurisdiction
given to them.” Colo. River Water Conservation Dist. v/ United States, 424 U.S. 800,
817 (1976). Abstention is “an extraordinary and narrow exception to the duty of a
District Court to adjudicate a controversy properly before it.” Id. at 813. Abstention is
“an extraordinary and narrow exception to the duty of a District Court to adjudicate a
controversy properly before it.” Id. at 813. Federal courts are empowered to halt an
improper State prosecution through equitable means, such as an injunction or a
declaratory judgment. See Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326
(2015) (“[I]f an individual claims federal law immunizes him from state regulation, the
court may issue an injunction upon finding the state regulatory actions preempted.”)
(citing Ex parte Young, 209 U.S. 123, 155–156 (1908)).
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      In this case, as explained in more detail herein, the State’s Indictment of Mr.

Shafer attempts to criminalize, under general State criminal laws, actions that were (1)

taken pursuant to exclusive federal authority, and (2) specifically contemplated by and

permitted by the Constitution and federal law. Citizens of the states are not subject to

state authority or jurisdiction when acting in a matter which is wholly within the

authority of the national government. See, e.g., In Re Loney, 134 U.S. at 376 (defendants

released from state custody by federal habeas when state attempted to charge them

under state perjury law for their testimony in a contested congressional election because

the state court had no jurisdiction to prosecute conduct so inseparably connected with

the functioning of the National Government); In re Neagle, 135 U.S. at 99 (federal

officer responsible for protecting federal judge who killed a man in the line of duty was

released pretrial from state charges because he was acting under the authority of the law

of the United States and, therefore, not liable to answer in the courts of California for

murder charges); In re Waite, 81 F. 359, 372 (N.D. Iowa 1897) (state criminal laws not

applicable to a pension examiner appointed under the laws of the United States for acts

done in connection with his duties as examiner); Thomas, 173 U.S. at 283 (holding that

state had no authority to apply its criminal laws to the director of a national soldiers’

home in Ohio because he was acting on federal authority and “[u]nder such

circumstances the police power of the state has no application.”) (emphasis added).
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      Additionally, acts done under the authority of the United States cannot be

violations of the criminal laws of the state. See In re Waite, 81 F. at 372 (“Being done

within the general scope of the authority conferred by the laws of the United States, the

rightfulness or validity thereof cannot be tested by the provisions of the criminal statutes

of the state”); see also Section III.B.1 (explaining that State laws that attempt to operate

in areas under which they have no authority under the Constitution are preempted);

Section III.B.2 (explaining that laws that interfere with federal authority are

preempted); Section III.B.3 (explaining that state laws that conflict with federal

authority are preempted). As such, the State has no authority to criminalize Mr. Shafer’s

actions under any State law, and pretrial federal relief is available, necessary, and

appropriate.

B. The State Is Preempted by The Constitution and Federal Law From
   Prosecuting Mr. Shafer

      Federal preemption, in which the Constitution or federal law preempts state law,

stems from the Supremacy Clause, which provides “a clear rule that federal law ‘shall

be the supreme Law of the Land[.]’” Arizona v. United States, 567 U.S. 387, 398 (2012).

Federal law recognizes several distinct types of preemption that apply in this case to

preempt the State’s criminal laws, and Mr. Shafer’s Indictment, therefore, is preempted.

      Structural preemption occurs when the Constitution commits authority over a

subject to the federal government alone, foreclosing a role for states and localities. It
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differs from field and conflict preemption in that it looks to the Constitution as the

source of the federal authority instead of to a federal statute. “Structural preemption

may have a clear textual basis, such as the exclusive federal authority over patent,

copyright, and bankruptcy, or it may draw on the structure and relationships created by

the Constitution.” See, e.g., Clare Huntington, The Constitutional Dimension of

Immigration Federalism, 61 Vand. L. Rev. 787, 808–09 (2008) (discussing structural

preemption) (internal citations omitted). Under structural preemption, the operative

question is whether the state is exercising a power that the Constitution grants

exclusively to the federal government. Ben Meade, Interstate Instability: Why

Colorado's Alien Smuggling Statute Is Preempted by Federal Immigration Laws, 79 U.

Colo. L. Rev. 237, 242–43 (2008) (discussing structural preemption).

       Under field preemption, “States are precluded from regulating conduct in a field

that Congress, acting within its proper authority, has determined must be regulated by

its exclusive governance.” Arizona, 567 U.S. at 399 (internal citation omitted). Field

preemption can occur in one of two ways: (1) when the intent to completely displace a

state law can be inferred from a framework of regulation “so pervasive . . . that Congress

left no room for the States to supplement it,” id.; or (2) where there is a “federal interest

. . . so dominant that the federal system will be assumed to preclude enforcement of

state laws on the same subject.” Id.
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      Conflict preemption is exactly as it sounds: when state law conflicts with federal

law, state law is preempted. Id. Like field preemption, conflict preemption can also

occur in two ways: (1) when compliance with both federal and state regulations is

impossible, id. (internal citations omitted); and (2) “where the challenged state law

stands as an obstacle to the accomplishment and execution of the full purposes and

objectives of Congress.” Id. (internal citations omitted).

      Because the State’s criminal laws are preempted in this context under each of

these types of preemption, the State has no authority to pursue its Indictment or

prosecution against Mr. Shafer.

      1. The State’s Indictment Is Structurally Preempted

      As discussed in detail in Section III.C., the Constitution creates Presidential

Electors and vests the States only with the authority for their legislatures to set the

manner of their appointment. Because the State here is not and cannot be acting pursuant

to the power granted by Article II of the Constitution to the Georgia state legislature to

set the manner of appointment of Presidential Electors or by Congress in the ECA, it is

structurally preempted from bringing and prosecuting this Indictment.

      The Supreme Court has applied structural preemption in the analogous context

of the Elections Clause. See U.S. Term Limits, 514 U.S. at 805 (finding that the

Presidential Elector Clause under Article II parallel to the Elections Clause at issue in
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Article I). As discussed in greater detail in Section III.C., the Court concluded that

when an office (such as Presidential Electors) is created by the Constitution, the State

has no “original powers” with regard to those offices or entities; therefore, no power to

act with regard to those officers is reserved to the States under the Tenth Amendment.

The Court then held that “the Framers intended the Constitution to be the exclusive

source” of authority for those offices, and that the Framers thereby “divested” States of

any power with regard to them that is not expressly granted to them in the Constitution.

Id. at 800–01; see also Section III.C.1.20

      Because the State’s Indictment attempts to exercise authority it has not been

delegated by either by Article II of the Constitution or the ECA (and that has been

expressly delegated exclusively to Congress by Article II and the ECA), it is structurally

preempted.

      2. Congress Has Occupied the Field of Presidential Elector Balloting and
         Adjudication, Preempting Any State Interference With the Same

      Field preemption applies when either (a) the federal framework of regulation is

so pervasive that Congress left no room for the States to supplement it or (b) when the



20
  The Supreme Court has also determined that in this structural preemption context, the
presumption against preemption that is sometimes invoked in its Supremacy Clause
cases is not applicable. Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1, 13-
14 (2013) (“We have never mentioned [the presumption against preemption] in our
Election Clause cases . . . .”)
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federal interest is so dominant that the federal system will be assumed to preclude

enforcement of state laws. Both types of field preemption apply here.

      First, Congress’ regulation of and over the casting, collection, adjudication, and

counting of presidential elector ballots and purported presidential elector ballots is

comprehensive. Indeed, the ECA has been described as so “detailed” and

“comprehensive” that even federal courts should be divested of jurisdiction to interfere

with Congress’ authority to adjudicate and count presidential elector ballots. Bush v.

Gore, 531 U.S. at 155 (2000). The legislative history of the ECA clarifies its intent to

give Congress alone the power to resolve such disputes:

      The two Houses are, by the Constitution, authorized to make the count of
      electoral votes. They can only count legal votes, and in doing so must
      determine, from the best evidence to be had, what are legal votes....
                                      *****
      The power to determine rests with the two houses, and there is no other
      constitutional tribunal.

531 U.S. at 154 (quoting H.R. Rep. No. 1638, 49th Cong., 1st Sess., 2 (1886) (report

submitted by Rep. Caldwell, Select Committee on the Election of President and Vice–

President)) (emphasis added); see generally Stephen A. Siegel, The Conscientious

Congressman’s Guide to the Electoral Count Act of 1887, 56 Fla. L. Rev. 541 (2004)

(Siegel) (describing in detail the comprehensive provisions of the ECA, their

application, and their legislative history). Through the ECA, then, Congress has

comprehensively occupied the field in presidential elector (and contingent presidential
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elector) balloting and adjudication, and the States have no authority under the ECA to

inject themselves into this process.

      Second, the federal interest here is so dominant that the exclusion of any state

law must be presumed. “The power [of Congress] to judge of the legality of the

[electoral] votes is a necessary consequent of the power to count. The existence of this

power is of absolute necessity to the preservation of the Government. The interests of

all the States in their relations to each other in the Federal Union demand that the

ultimate tribunal to decide upon the election of President should be [Congress], in

which the States in their federal relationships and the people in their sovereign capacity

should be represented.” Bush v. Gore, 531 U.S. at 155 (internal quotations and citations

omitted) (emphasis added); see also Burroughs, 290 U.S. at 545 (“[P]residential

electors . . . exercise federal functions under, and discharge duties in virtue of authority

conferred by, the Constitution of the United States. The President is vested with the

executive power of the nation. The importance of his election and the vital character of

its relationship to and effect upon the welfare and safety of the whole people cannot be

too strongly stated.) (internal citation omitted) (emphasis added); see also In re Loney,

134 U.S. at 376, (holding states cannot use state criminal laws to interfere with

Congress’ adjudication of a dispute over who was the correct Congressman to be seated
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because that function is so inseparably connected to the functioning of the national

government).

      In sum, Congress has occupied the field of receiving, adjudicating, and counting

presidential elector ballots and purported presidential elector ballots. The State’s

Indictment attempting to encroach upon and obstruct Congress’ authority through

criminal prosecution is preempted, and Mr. Shafer’s Indictment is without authority or

jurisdiction.

      3. The State’s Use State of Laws to Criminalize the Conduct of Presidential
         Electors Conflicts with the ECA and Obstructs Congress’ Authority
         Under The Twelfth Amendment and the ECA

      Conflict preemption also applies in two scenarios: (a) when compliance with both

federal and state law is impossible, and (b) when state law obstructs the execution of

Congress’ objectives and purposes. Here, again, both principles apply to preempt the

State’s Indictment.

      As noted, the ECA specifically permits the submission of both presidential

elector ballots and “purported” or contingent presidential elector ballots to Congress for

its adjudication. 3 U.S.C. § 15. The State’s Indictment, in essence, seeks to criminalize

the submission of contingent or “purported” presidential elector ballots. See Exhibit A,

pp. 13-17, 20, 28, 31-32, 35-42, 76-81. Under the State’s theory, Mr. Shafer could not

take the necessary steps to both execute a contingent or purported presidential elector
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ballot (as he was entitled to do under the ECA) and also comply with the State’s current

application of its criminal laws. The State’s Indictment conflicts with the plain language

of the ECA, and it is preempted.

      Additionally, the State’s attempt to use its criminal laws to prohibit the

submission of contingent or “purported” presidential electoral ballots to Congress

plainly obstructs Congress’ objectives and purposes as expressed in the ECA. Again,

the ECA is plain that Congress is to receive both presidential elector ballots and

contingent or purported presidential electoral ballots so that it can exercise its

exclusive authority to adjudicate the valid ballot. See 3 U.S.C. § 15; see also Section

III.C.3. The State, however, is attempting to obstruct, through criminal prosecution,

Congress’ right and ability to receive and adjudicate contingent or purported

presidential elector ballots by criminalizing them. See generally Section III.C. The

State’s Indictment plainly and directly obstructs Congress’ objectives and purposes

(indeed, its exclusive authority) under the ECA, and its Indictment is preempted.

C. Presidential Electors Are Created by the Constitution and Perform Exclusive
   Federal Government Functions When They Convene and Cast Their Electoral
   Ballots

      Presidential Electors are created by Article II, § 1, cl. 2 of the Constitution (the

“Presidential Electors Clause”). The Constitution gives state legislatures authority to set

the manner in which their states appoint Presidential Electors. See U.S. Const., Art. II,
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§ 1. It also vests Congress with the exclusive authority to receive, adjudicate, and count

Presidential Elector ballots. See U.S. Const. Amend XII. This authority necessarily

includes Congress’ right to receive and adjudicate presidential elector ballots and

contingent or “purported” presidential elector ballots. See, e.g., Bush v. Gore, 531 U.S.

at 155.

      Because Congress has sole and exclusive authority over the receipt, adjudication,

and counting of both presidential elector ballots and contingent or purported

presidential elector ballots, see U.S. Const. Amend XII and 3 U.S.C. § 15, the State has

no authority over the conduct of presidential electors, including “purported” or

“contingent” presidential electors, after the ECA’s safe harbor date. Similarly, the State

has no authority to invade Congress’s exclusive authority to receive and adjudicate

ballots and purported ballots by attempting to use the State’s criminal laws to prohibit

or obstruct the submission of them to Congress. The State, therefore, has no authority

or jurisdiction to indict or prosecute Mr. Shafer under these facts.

      1. Congress’ Authority Over Federal Elections and Presidential Electors

      Under the Supremacy Clause of the U.S. Constitution, “[t]he states have no

power… to retard, impede, burden, or in any manner control the operations of the

constitutional laws enacted by congress to carry into effect the powers vested in the

national government.” McCulloch v. State, 17 U.S. 316, 317 (1819). Because
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Presidential Electors are created by the Constitution, any state authority to regulate the

casting of Presidential Elector ballots “had to be delegated to, rather than reserved by,

the States.” See U.S. Term Limits, 514 U.S. at 805 (noting the Tenth Amendment “could

only ‘reserve’ that which existed before and that “the states can exercise no powers

whatsoever, which exclusively spring out of the existence of the national government,

which the constitution does not delegate to them.... No state can say, that it has reserved,

what it never possessed.”) (quoting 1 Story § 627) (emphasis added).21 Applying these

principles to the analogous Presidential Elector Clause, “[i]n the absence of any

constitutional delegation to the States of power to [regulate or proscribe the conduct of

Presidential Electors], such a power does not exist.” See U.S. Term Limits, 514 U.S. at

805; cf. Cook v. Gralike, 531 U.S. 510, 523 (2001) (“By process of elimination, the

States may regulate the incidents of such elections, including balloting, only within the

exclusive delegation of power [by the Constitution and Congress].” Id. (emphasis

added). The State’s attempt here to interfere with and regulate Presidential Electors is


21
    While the issue in U.S. Term Limits was the States’ lack of authority to add
qualifications for their state-elected Congressman under Article I, § 4, cl. 1, the Supreme
Court specifically indicated that the same analysis would apply, for the same reasons,
to Presidential Electors created under the Art. II, § 1, cl. 2. Id. at 805 (“This duty [for
Congress to set qualifications for members of Congress under the Elections Clause, Art.
I, § 4, cl. 1] parallels the duty under Article II that “Each State shall appoint, in such
Manner as the Legislature thereof may direct, a Number of Electors.” Art. II, § 1, cl. 2.
These Clauses are express delegations of power to the States to act with respect to
federal elections.”) (emphasis added).
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not grounded in any Constitutional grant or Congressional delegation; it is, therefore,

invalid under the Supremacy Clause. Id. at 805; Cook, 531 U.S. at 523.

       In the context of Presidential Electors, the Constitution and Congress have

delegated power to the States in only two discreet areas: (1) the Constitution grants

authority to a state legislature to set the manner of appointment of its Presidential

Electors, see U.S. Const. Art. II, § 1; and (2) Congress, through the ECA, delegated to

the states the limited right for its adjudicative body (in Georgia, a court and judicial

contest) to resolve disputes about Presidential Electors on or before the ECA’s safe

harbor date. See 3 U.S.C.§ 5. No other constitutional provision or federal statute gives

the States authority over Presidential Electors or the casting of Presidential Elector

ballots.

       As discussed herein, neither of the two specific areas delegated to the States

permits the State to interfere with or regulate – whether by statute or criminal indictment

– Presidential Electors’ meeting and casting ballots on the date and time required by

federal law. Because the State’s Indictment is not and cannot be grounded upon either

of the two limited federal grants of authority States have been given with regard to

Presidential Electors and purported Presidential Electors, the State is wholly without

authority or jurisdiction to insert itself into this federal arena through state criminal

prosecution or otherwise. Because the State’s Indictment interferes with a federal
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function granted exclusively to Congress under the Constitution and ECA, its actions

are prohibited by the Supremacy Clause. This Court should assert federal jurisdiction

to halt and prohibit such unauthorized and unconstitutional proceedings.

      2. The Authority Granted to State Legislatures By The Constitution to
         Appoint Presidential Electors Does Not Authorize the State’s Prosecution

      As noted, Article II, § 1, cl. 2, provides that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct,” its Presidential Electors.22 As the

Supreme Court has made clear, a state’s authority under Article II to select the manner

of Presidential Electors’ appointment is separate and distinct from the exclusive federal

authority under which Presidential Electors act when meeting to ballot for President

and Vice-President:23 “Presidential electors exercise a federal function in balloting for


22
   In Georgia, Presidential Elector nominees are selected through the state’s two
political parties, and Presidential Electors are selected based upon the results of the
state’s popular vote. See, e.g., O.C.G.A. § 21-2-134 (nomination of presidential
electors); O.C.G.A. § 21-2-172 (nomination of candidates by convention).
23
   In Ray v. Blair, for example, the Supreme Court upheld the State of Alabama’s
requirement that Presidential Electors, as part of their qualification for appointment,
must pledge to vote for the candidate of their respective political party who received the
most votes for President and Vice-President. 343 U.S. at 225. While acknowledging
that “Presidential Electors exercise a federal function in balloting for President and
Vice-President,” the court determined that state legislatures could, as part of their
appointment power, require Presidential Electors to commit to voting for the political
party’s candidate as a qualification for holding the office of Presidential Elector. Id. at
231. In Chiafalo v. Washington, the Supreme Court upheld a state’s right to impose
penalties, including criminal penalties, on presidential electors who violated a state law
requiring them to vote for the candidate of their respective political party who received
the most votes for President and Vice-President. 140 S. Ct. 2316, 2324 (2020). In so
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President and Vice-President[.]” Ray, 343 U.S. at 224–25 (emphasis added); Burroughs

v. United States, 290 U.S. 534, 545 (1934) (Presidential Electors “exercise federal

functions under, and discharge duties in virtue of authority conferred by, the

Constitution of the United States”) (emphasis added); see also Matter of Guerra, 193

Wash. 2d 380, 393 (2019), aff’d sub nom. Chiafalo, 140 S. Ct. 2316 (“The State does

not dispute that presidential electors perform a federal function when casting a vote in

the Electoral College”) (emphasis added); cf. United States v. Trump, Case No. 1:23-

CR-00257-TSC, ECF Doc. No. 1, ¶ 9 (Aug. 1, 2023) (describing the process “by which

the results of the election for President of the United States are collected, counted, and

certified” as a “federal government function” that is “foundational to the United States’

democratic process”).

      In this case, the Indictment of Mr. Shafer for the actions that he took as a

Presidential Elector is not (and cannot be) grounded in the power given to state

legislatures by the Constitution to select the manner of Presidential Electors’

appointment. Quite obviously, the Fulton County District Attorney is not the state

legislature, and her office, therefore, has no authority with regard to Presidential




holding, the Supreme Court specifically grounded its decision on the State’s
constitutional authority to set the qualifications for the appointment of Presidential
Electors. Id.
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Electors under Article II, § 1 of the Constitution. Even if this obstacle could be

surmounted (which it cannot), the Indictment does not allege any violations by Mr.

Shafer with regard to the manner of his appointment as a Presidential Elector. See

Exhibit A, pp. 13-17, 20, 28, 31-32, 35-42, 76-81. Instead, as the Indictment itself makes

clear, the Fulton County District Attorney is attempting to punish Mr. Shafer for the

exercise of his federal function as a Presidential Elector in balloting for President and

Vice-President and to prohibit, under pain of criminal prosecution, Mr. Shafer (and all

other citizens who may serve as Presidential Electors) from performing their

Presidential Elector duties to meet and cast ballots. See 3 U.S.C § 15.

      In short, Article II, § 1, cl. 2 giving appointment power over presidential electors

to state legislatures provides no basis or authority for the State’s Indictment. And

because the State cannot tether its Indictment as to presidential electors to any other

constitutional or federal legislative delegation of authority to the State, it lacks the

authority and jurisdiction to bring it.

      3. Congress’ Delegation to the States of the Right to Adjudicate Disputes
         Regarding Presidential Electors Before or By the Safe Harbor Day Under
         the ECA Does Not Authorize the State’s Indictment and Prosecution

      Under the Twelfth Amendment and the ECA, Congress has sole authority to

receive, adjudicate, and count of Presidential Elector ballots, specifically including

“return[s] or paper[s] purporting to be a return from a State.” See 3 U.S.C. § 15
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(emphasis added). As described above in Section I.B., Congress has delegated to the

States, through Section 5 of the ECA, the opportunity for their judicial process to

conclusively resolve disputes over presidential electors if those disputes are finally

adjudicated by the safe harbor date (six days before presidential electors are required

to meet and vote). See 3 U.S.C §§ 5, 15. If the States do not render a final judicial

determination by the safe harbor day, however, their role in determining the State’s

valid slate of Presidential Electors has terminated. From that point, only Congress has

authority to receive, adjudicate, and count the Presidential Elector ballots or returns,

including “return[s] or paper[s] purporting to be a return from a State.” See 3 U.S.C.

§§ 5, 15 (emphasis added).24

      Georgia has a judicial process to resolve disputes about who are the State’s true

presidential electors. See O.C.G.A. §§ 21-2-520 et seq. In the context of the 2020

presidential election, Mr. Shafer properly availed himself of this judicial process to

contest the presidential elector slate in Georgia. As the docket from that case, attached

hereto as Exhibit E, demonstrates, however, the matter was not finally adjudicated -- or



24
  That is not to suggest that the State judicial contest would be moot if not decided by
the safe harbor date. As the example from Hawaii in 1960 (discussed in Section I.B.
above) shows, when such a judicial challenge is finally adjudicated even past the safe
harbor date, those results can be transmitted to Congress for its consideration; it simply
does not have the conclusive effect that a final determination by the safe harbor date
would have under the ECA. See 3 U.S.C. § 5.
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even adjudicated at all -- by December 8, 2020, the “safe harbor” date in Section 5 of

the ECA.

      Because that judicial challenge remained unresolved on the ECA’s safe harbor

date (Dec. 8. 2020), Georgia did not meet the ECA’s safe harbor provision in the 2020

election and, as such, missed its opportunity to decide who its true presidential electors

were. 3 U.S.C. § 5, 15. At that point, all authority to adjudicate disputes about valid

presidential electors was exclusively Congress’. See 3 U.S.C. §§ 5, 15. The Indictment

in this case, however, seeks to usurp Congress’ authority and function by obstructing

Congress’ explicit right under the ECA to receive ballots and purported ballots so that

it can adjudicate them.

      As detailed in Section I.B., Congress passed the ECA to establish specific rules

for it to adjudicate the validity of presidential elector ballots and purported presidential

elector ballots under these circumstances. See 3 U.S.C. § 15. Thus, the ECA makes

plain that more than one slate of presidential elector ballots from a state can be executed

and sent to Congress for its consideration. 3 U.S.C § 15 (describing the rules for

counting “more than one return or paper purporting to be a return from a State)

(emphasis added).25


25
  Indeed, the practice of sending more than one presidential elector ballot to Congress
from one state was commonplace throughout our Nation’s history, see, e.g., Siegel, at
630-631 (describing the historical practice in American elections of states submitting
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      As applied to the 2020 presidential election in Georgia, under the specific terms

of the ECA, neither the Republican nor the Democrat presidential electors could claim

that they had been declared the valid presidential electors by the State’s adjudicative

process because the judicial challenge to the election had not been finally adjudicated

by the ECA’s safe harbor date (December 8, 2020). See 3 U.S.C. §§ 5, 15. As such, the

ECA expressly allows both presidential elector ballots to be sent to Congress, and

Congress was not required to give either ballot the presumption of validity. See 3 U.S.C.

§§ 5, 15.26

      Plainly, Congress’ limited delegation of its authority to the States under the ECA

to permit them to attempt to conclusively adjudicate presidential elector disputes by the

safe harbor deadline (Dec. 8, 2020) in advance of the presidential electors meeting and

voting (Dec. 14, 2020), which Georgia did not accomplish in 2020, can provide no

authority or jurisdictional basis for the State’s law enforcement arm to interfere with,

prevent, or otherwise regulate the manner in which presidential electors meet, cast, and



competing slates of electors in presidential elections), so commonplace that Congress
passed the ECA to provide specific rules it would employ to ascertain which of the
competing elector ballots, including contingent or purported returns, was the state’s
legitimate one. Id.
26
   Had both sets of Georgia presidential elector ballots been presented to Congress, both
houses of Congress would have had to agree on which ballot was Georgia’s true ballot.
Only if Congress could not agree on the valid ballot from the competing presidential
elector slates would the ECA’s default provision making the ballot certified by the
State’s Governor the one that must be counted apply. Id. at § 15.
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send their ballots to Congress as required under the ECA after that safe harbor date.

Instead, the ECA specifically anticipates and permits the submission of those

presidential ballots and purported ballots, and the State has no authority to obstruct

Congress’ receipt of either.

      In short, when a State, like Georgia in 2020, fails to resolve election disputes by

the ECA’s safe harbor date, the State has no authority to interfere -- through legislation

or attempted criminalization -- with Congress’ express Constitutional and federal

statutory authority to receive and adjudicate presidential elector ballots, including

contingent or purported presidential elector ballots. See U. S. Const. Amend. XII; 3

U.S.C § 15. Permitting a State to criminalize the preparation or sending of “purported”

presidential elector ballots to Congress, therefore, usurps and obstructs Congress’

exclusive authority. Under the Supremacy Clause, the State is prohibited from doing so,

and this Court should assert its jurisdiction to protect federal sovereignty and prevent

this unconstitutional and unlawful attempted prosecution27


27
  See generally Edward B. Foley, Preparing for A Disputed Presidential Election: An
Exercise in Election Risk Assessment and Management, 51 Loy. U. Chi. L.J. 309, 345
(2019) (“[W]hile state and federal courts may play significant roles in shaping the
dynamics of a dispute that reaches Congress, by declaring who is the lawful winner of
the state's popular vote and which slate of presidential electors the state's governor must
certify as authoritative, ultimately neither the state nor federal judiciary can prevent a
party's slate of presidential electors from purporting to meet on December 14 and
acting as if they can cast the state's electoral votes--even if those individuals lack any
indicia of authority under state law. As long as these individuals do meet and do purport
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                                  IV. CONCLUSION

      Pursuant to pursuant to 28 U.S.C. § 1442, 28 U.S.C. § 1455, the Supremacy

Clause , and this Court’s habeas and equitable authority, Defendant David J. Shafer

respectfully requests that the Court:

      A.     Promptly examine Defendant’s Notice of Removal of State Court Action

      to Federal Court and Request for Habeas Corpus or Equitable Relief;

      B.     Order an evidentiary hearing to be held promptly;

      C.     Remove the prosecution of State of Georgia v. Shafer, Case No.

      23SC188947, in the Superior Court of Fulton County, Atlanta Judicial Circuit, to

      this Court;

      D.     Notify the Superior Court of Fulton County of the removal of the

      prosecution and direct that the Superior Court of Fulton County proceed no

      further;

      E.     Assert jurisdiction of this matter under either habeas or equitable relief and

      terminate or prohibit the State’s prosecution; and

      F.     Enter any orders as may be necessary or proper.




to send their electoral votes to the President of the Senate, then even the intervention of
the Supreme Court cannot stop a dispute regarding a state's electoral votes from
reaching Congress.”) (emphasis added).
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      Respectfully submitted and signed pursuant to Federal Rule of Civil Procedure

11, this 21st day of August, 2023.

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